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Attorneys for Plaintiff
WILLIAM I. KOCH

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

WILLIAMLKOCH,anindiviualy * 6586.
WILLIAM I. KOCH, an individual; : \
Plaintiff, JUDGE JONES \
VS. : 06 Civ.
HARDY RODENSTOCK, aka Meinhard Goerke,
an individual,
Defendant.
8 ee ee ee ee ee ee ee ee x
COMPLAINT

Plaintiff William I. Koch alleges, on personal knowledge as to himself, and on

information and belief as to Defendant Hardy Rodenstock, aka Meinhard Goerke:

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PRELIMINARY STATEMENT

1. This case concerns an ongoing scheme to defraud wine collectors that has been
orchestrated by Hardy Rodenstock, aka Meinhard Goerke, a citizen of Germany. For decades,
Rodenstock has been involved in the tasting and promotion of rare vintages of wine. Having
built a reputation as a wine connoisseur, Rodenstock periodically claims to have discovered rare
vintages of wine. At least some of these discoveries are forgeries. Plaintiff William I. Koch is
one of Rodenstock’s many victims.

2. Rodenstock frequents wine tastings where very old vintages of wine are tasted.
He has attended wine tastings in New York, where he once met Plaintiff Koch. Rodenstock is
charming and debonair. He is also a con artist. Witnessing the high prices of rare vintages of
wine, Rodenstock decided to enter the business of creating fake bottles of wine.

3. Plaintiff’ s investigation has proven that Rodenstock’s most celebrated wine
“discovery” — 18th century wine purportedly bottled for Thomas Jefferson, complete with the
“Th.J.” initials engraved on the bottles — is a hoax.

4, Rodenstock initially claimed to have discovered this “Thomas Jefferson wine” in
the mid-1980s in an old walled-up wine cellar in Paris. He has never disclosed the exact location
of this cellar or the exact circumstances of the discovery. Recently, Rodenstock has modified his
story, now claiming that he bought the bottles of Thomas Jefferson wine from an unidentified
person in Paris who may no longer be alive.

5. Because Rodenstock intended to defraud sophisticated wine purchasers, his
Thomas Jefferson wine story had many indicia of authenticity. The bottles were very old,
consistent with bottles from the 1700s, and the bottles were engraved with the initials “Th.J.”

Jefferson lived in Paris in the late-1700s when he was the United States Minister to France and
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he was an avid wine collector. Historical records confirm that Jefferson purchased hundreds of
bottles of French wine while he was in France and after he returned to the United States. Thus, it
was credible that Thomas Jefferson wine from the 1780s might be discovered in Paris.

6. On or about December 5, 1985, Forbes Management Co. Inc. purchased one
bottle of Thomas Jefferson wine at an auction at Christie’s. Forbes Management Co. Inc. paid
£105,000 (approximately $156,000), the highest price ever paid for a single bottle of wine at
auction. In connection with that auction, Christie’s experts corroborated the authenticity of the
provenance. Plaintiff Koch subsequently purchased four bottles of the Thomas Jefferson wine.

7. Experts in engraving who have recently analyzed many of the bottles of Thomas
Jefferson wine have concluded that the initials “Th.J.,” and other markings on the bottle, were
engraved using engraving tools that did not exist in the 1700s.

8. Additionally, Thomas Jefferson experts at Monticello do not believe that
Rodenstock’s Thomas Jefferson wine bottles are genuine. There is no historical evidence that
Jefferson ever engraved initials of any kind on bottles of wine; moreover, Jefferson’s records,
which are highly detailed and list all or almost all of his expenditures, do not reflect that
Jefferson ever bought bottles of certain vintages Rodenstock claims to have found in Paris.

9. Rodenstock to this day contends that the Thomas Jefferson wine is “absolutely
genuine and that anyone who drinks it is drinking history!”

10.  Rodenstock is also the source of counterfeit bottles of 1921 Petrus Magnum, one
of which was purchased by Plaintiff. Plaintiff brings this suit to prove that Rodenstock has

injected forgeries into international commerce and to obtain appropriate remedies against him,

including damages.
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PARTIES

11. Plaintiff William Koch is a resident of the state of Florida.
12. Defendant Hardy Rodenstock is a resident of the country of Germany.

Rodenstock’s real name is Meinhard Goerke.

JURISDICTION AND VENUE

13. This Court has jurisdiction over the state law claim under 28 U.S.C. § 1332, as the
matter in controversy exceeds $75,000 and is between a citizen of a state and a citizen of a
foreign state. This Court has jurisdiction over the federal declaratory judgment claim pursuant to
28 U.S.C. § 1332 and 28 U.S.C. §§ 2201 and 2202.

14. Venue is proper in this Court under 28 U.S.C. § 1391. Rodenstock has transacted
business in this district, events giving rise to the claims occurred in this district, and Rodenstock

is subject to personal jurisdiction in this district.

FACTUAL ALLEGATIONS

15. In late 1985, Christie’s in London offered a bottle of 1787 Lafite wine at auction
that was advertised in a manner suggesting that the wine had been bottled for, sold to, or owned
by Thomas Jefferson. The Christie’s catalogue stated: “Th.J. are the initials of Thomas
Jefferson one of the most splendid men of American history . . . Jefferson’s purchases of
Bordeaux wines are well documented ....” The initials “Th.J.” were engraved on the bottle
along with “1787” and “Lafitte.” Rodenstock was seller of the wine, having consigned it to
Christie’s for auction.

16. According to the Christie’s catalogue for the “Finest and Rarest Wines” auction
held Thursday December 5, 1985, the 1787 Lafite bottle of wine offered for sale was “The

Property of Mr. Hardy Rodenstock.” There were many indicia of authenticity detailed in the
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Christie’s catalogue, including: “Th.J. are the initials of Thomas Jefferson,” a statement that
Jefferson lived in France from May 1784 to October 1789, and a statement that, in 1787,
Jefferson toured the wine regions of southern France. The Christie’s catalogue also stated that
one side of the bottle “has been cleaned to reveal the original wheel engraved script figures and
letters ‘1787 Lafitte Th.J.’”

17. Rodenstock told Christie’s prior to the auction that this bottle of wine, and others
like it, had been discovered in a walled-up wine cellar in Paris. The Christie’s catalogue reported
that Rodenstock had organized two tastings of bottles of the wine in 1985 before the Christie’s
auction. The Christie’s catalogue stated that “connoisseurs,” including Michael Broadbent, then
the head of Christie’s Wine Department, had tasted the wine. The catalogue reported that
Broadbent deemed the wine “perfect in every sense: colour, bouquet and taste.” Broadbent has
on multiple occasions vouched for the authenticity of the Thomas Jefferson wine.

18. | Rodenstock became an international celebrity because of his discovery of the
Thomas Jefferson wine. His status as a wine celebrity continues to this day. In Christie’s Fine
and Rare Wines catalogue for a June 3, 2006 auction at 20 Rockefeller Plaza in New York,
Christie’s invokes Rodenstock’s name. A 1994 Chateau Lafite-Rothschild is described as: “Last
tasted in a ‘flight’ of first growth ‘94s at the Rodenstock wine event, March 2001.” A 1995
Chateau Haut-Brion is described as, “An equal top mark at Rodenstock’s blind tasting of first
growth ‘95s.” Similarly, Christie’s invokes Rodenstock’s name in its catalogue for the June 15,
2006 London Finest and Rarest Wines and Spirits auction, including an 1864 Chateau Lafite-
Rothschild (referring to a Rodenstock tasting in 1995) and a 1900 Chateau Lafite-Rothschild

(“Last tasted [at] Hardy Rodenstock’s wine weekend, Sept. 1996.”). Rodenstock’s tastings are a
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central part of his scheme, as the tastings allow him to assess market demand and potential
customers for his “discoveries.”

19. | Forbes Management Co. Inc. paid £105,000 (approximately $156,000) for the
Rodenstock bottle of Thomas Jefferson wine in December of 1985. This was reportedly the
highest price ever paid for a bottle of wine. A representative of Forbes Management Co. Inc.
hand-carried the wine directly from London to New York, where the bottle has been displayed as
part of The Forbes Collection in New York.

20. Relying on the statements made by Christie’s in connection with the auction,
statements that were based on information provided to Christie’s by Rodenstock, Plaintiff Koch
decided to purchase bottles of the Thomas Jefferson wine. He first purchased a bottle of
Rodenstock’s Thomas Jefferson wine from the Chicago Wine Company in November 1988,
understanding at the time of that purchase that the wine was found at the same walled-up cellar
location in Paris as the Thomas Jefferson wine auctioned by Christie’s. Rodenstock was the
source of the wine sold to Plaintiff Koch by the Chicago Wine Company.

21. In December 1988, Plaintiff Koch purchased three bottles of Thomas Jefferson
wine from Farr Vintners, Ltd. Rodenstock provided these three bottles to Farr Vintners for sale
to Plaintiff Koch. The three bottles were a 1787 Lafite, a 1784 Lafite, and a 1784 Ch. Branne
Mouton. Lindsay Hamilton of Farr Vintners, Ltd. personally hand-delivered these three bottles
of wine to Plaintiff Koch in New York. At the time of purchase, Plaintiff Koch was led to
believe that these three bottles were found in the same walled-up wine cellar where the 1787
Lafite that was sold at the 1985 Christie’s auction was found. Rodenstock has confirmed that he
provided these three bottles of wine to Farr Vintners and has also stated that these bottles were

discovered in the same cellar where he found the “Th.J.” bottle sold at Christie’s in December
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1985. Plaintiff Koch reasonably believed that these bottles of wine had been owned by or
bottled for Thomas Jefferson based on representations by Rodenstock that were repeated by
Christie’s and others in the wine marketplace in and around December 5, 1985.

22. During 2005, Plaintiff Koch was asked to display one of his bottles of Thomas
Jefferson wine at a museum in Boston. In preparing for the exhibit, Plaintiff Koch’s staff and
Plaintiff Koch learned for the first time that there were credible questions about the authenticity
of the bottles of Thomas Jefferson wine. Plaintiff Koch then commenced an investigation to
determine whether the bottles of Thomas Jefferson wine he had purchased were authentic.

23.  Acentral finding of Plaintiff Koch’s investigation is that the “Th.J.” initials on the
bottle were engraved by an electric power tool or tools with a flexible shaft that did not exist in
the 1700s. Plaintiff believes that Rodenstock engraved the initials on the bottle himself, or
directed someone else to do so. The tools that were used to do the engraving did not exist at that
time. Plaintiff’s experts also examined several other bottles of Thomas Jefferson wine and
reached the same conclusion: The engravings on the other bottles of Thomas Jefferson wine were
not made by any tool that existed in the 1700s. The tool used for the engravings was not
invented until much later.

24. The engraving tools that existed in the 1700s were spinning copper wheels,
natural stone wheels, and some ferrous wheels. These wheels were powered by foot pedal.
During the engraving process, the wheels would rotate in a single position and the bottle would
be moved by the engraver. The engravings on the Thomas Jefferson bottles are not consistent
with this technique. Instead, the engravings on these bottles, according to engraving experts,

were made by an electric power tool with a flexible shaft, such as a dentist’s drill, that could be
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moved during the engraving process while the bottle was held in a stationary position. Such
tools did not exist in the 1700s.

25. In January 2006, Plaintiff Koch sent a facsimile to Rodenstock from a Koch
family residence in New York. Plaintiff Koch concluded his letter: “Mr. Rodenstock could you
please send a brief letter and authenticate the facts that the above bottles of wine, sold through
Farr Vintners, with the engraved initials Th J, were acquired by you or your agents from a
walled-up cellar near Paris and that you have every reason to believe that the above bottles of
wine once belonged to Thomas Jefferson.”

26. Later that month, Rodenstock responded to Plaintiff Koch by facsimile sent to
Plaintiff Koch at a Koch family residence in New York and stated: “[F]lor me the Jefferson
bottles are absolutely genuine and — as you tightly wrote — come from a walled-up cellar in Paris.
* * * * Only after the experts from Christie’s have established that the bottle was absolutely
genuine, it has been included in the auction.”

27. In May 2006, in response to another letter from Plaintiff Koch, Rodenstock
changed his story regarding his discovery of the Thomas Jefferson wine bottles, and claimed that
he “bought these bottles 21 years ago in Paris from people who had offered them to me.”
Rodenstock refused to identify the people from whom he allegedly had purchased the bottles,
and he further claimed that these people might now be dead. Rodenstock asserted that Christie’s
had “the engraving, the glass and so on closely examined. So why should I doubt about the
genuineness?” He reiterated that “the [Jefferson] wine was absolutely genuine.” True and

correct copies of correspondence between Plaintiff Koch and Rodenstock are attached as

Exhibits 1-4.
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28.  Rodenstock’s statements in his 2006 letters about the genuineness of the Thomas
Jefferson wine are part of his continuing scheme to conceal the truth that the Thomas Jefferson
wine bottles are forgeries.

29. In early 2006, a research report prepared by Lucia Goodwin was made public in a
book by James Gabler. That report was entitled “RESEARCH REPORT: Chateau Lafite 1787,
with initials ‘Th.J.’ prepared by Lucia Goodwin, 12 Dec. 1985.” The report raised questions
about the authenticity of the wine bottles Rodenstock had “discovered.” Goodwin was, at the
time she wrote the report, director of research at Monticello. Plaintiff Koch was able to obtain a
copy of the report in 2005, shortly before publication of the book. Prior to that, Plaintiff Koch
did not know about Goodwin’s report.

30. | Goodwin’s report identifies both Rodenstock and Christie’s wine department head
Michael Broadbent as “men of unquestioned knowledge and integrity.” But Goodwin’s report
questions the authenticity of the wine bottles Rodenstock had “discovered” for several reasons:

e Jefferson’s highly detailed financial records, which include daily receipts and
expenditures and are considered by historians to be complete and accurate, do not show a
purchase of this wine.

© Most of Jefferson’s wine orders appear in four different places in his records: letters,
letter record, memorandum book, and miscellaneous accounts. Chateau Lafite, which is
the vintner associated with some of the purported Thomas Jefferson bottles, does not
appear in these records.

e None of Jefferson’s records show anything related to the vintages of the bottles
Rodenstock claims to have found, with the exception of a 1784 Chateau d’ Yquem, which

is known to have been delivered to Jefferson.
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e If the bottles were a gift to Jefferson, he would have received them before he left Paris.

He left Paris in 1789, too early for the 1787 vintage to have been bottled.

e None of the Jefferson wine bottles at Monticello is engraved and there is no historical
evidence that Jefferson ever asked for wine bottles to be engraved.

31. | The Goodwin report also questions the initials engraved on the bottles, stating:
“The form ‘Th:J,’ with a colon between the two parts, was the shortened form of his signature in
correspondence. Thus the ‘Th.J.’ on the bottles [using a period and not a colon] does not quite
fit any of the forms used or specified by Jefferson.”

32. It was not until March 2005 that Plaintiff Koch learned of Monticello’s questions
about the authenticity of Rodenstock’s “discovery.” It was then that Plaintiff Koch began a
detailed investigation of Rodenstock’s activities and the Thomas Jefferson wine in particular.
That investigation has concluded that the Thomas Jefferson wine bottles are not authentic and
that Rodenstock appears to have been involved, and is currently involved, in other efforts to
peddle forged bottles of old wine, including his alleged discovery of long-lost bottles of wine in
Russia and Venezuela, as well as other bottles of rare and antique wine purchased by Plaintiff
Koch and others.

33. As part of Plaintiff Koch’s investigation, Plaintiff Koch asked Forbes
Management Co. Inc. to permit the investigators to inspect the bottle owned by Forbes
Management Co. Inc. Forbes Management Co. Inc. agreed. Like the other bottles of Thomas
Jefferson wine, the engraving experts have concluded that the Forbes Management Co. Inc.

bottle is also not authentic.

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34. Plaintiff Koch’s experts have analyzed another two bottles of Rodenstock’s
Thomas Jefferson wine — bottles that Rodenstock donated to Chateau d’ Yquem — and reached the
same conclusion that they are fake.

35. On October 28, 2005 Plaintiff purchased a 1921 Petrus Magnum from Zachys in
New York for $33,150. 1921 Petrus is expensive because it is known as an exceptional vintage.
In a February 1996 issue of the Wine Advocate, Robert Parker gave the 1921 Petrus a 100 point
rating. He wrote that the 1921 Petrus “was, to state it mildly, out of this universe.” He explained
that “1921 was one of those extremely hot Bordeaux growing seasons . . . . Because of high
alcohol, low acidity, and a certain fragility to the wines, the vintage has always been considered
to be very great ....” According to his article, Parker first tasted the 1921 Petrus at a 1995
tasting conducted in Munich, Germany by Hardy Rodenstock.

36. Because of the cost of this bottle of Petrus, and because research showed a link to
Rodenstock, Plaintiff’s investigators took this bottle to Chateau Petrus in France for inspection
by experts in 2006. These experts concluded that the 1921 Petrus was a very impressive fake
made by a master forger of wine. In particular, while Petrus was bottling wine in 1921, there is
no historical evidence that it bottled magnums in that year. In addition, the cork was too long
and the metal cap and label on the wine appear to have been artificially aged.

37. Other collectors of old wine are eager to have 1921 Petrus as part of their
collection because of its reputation as one of the great wines in all of history. A collector other
than Koch has recently learned that his 1921 Petrus Magnum, like Koch’s, is counterfeit. This
collector purchased a 1921 Petrus Magnum from The Wine Library in Petaluma, California.

Independent experts have confirmed that this 1921 Petrus also is not authentic. The collector has

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been told that the source of many of the counterfeit bottles sold to him by The Wine Library was
Hardy Rodenstock.

38. Hardy Rodenstock, having witnessed the high prices being paid for 1921 Petrus,
created counterfeit bottles of 1921 Petrus and injected them into the international wine markets,

enriching Rodenstock and defrauding consumers.

FIRST CAUSE OF ACTION

(COMMON LAW FRAUD)

39. Plaintiff incorporates by reference the allegations set forth in paragraphs 1
through 38 of this Complaint as though set forth in full herein.

40. | Rodenstock made material misrepresentations to, or concealed or suppressed
material facts from, Plaintiff, third parties, and a class of individual wine purchasers of which
Plaintiff is a member.

41. | The omissions or representations by Rodenstock were material and were false and
misleading, and Rodenstock knew they were material and were false and misleading at the time
they were made.

42. | Rodenstock misrepresented, concealed, or suppressed these facts with the intent to
influence the actions of Plaintiff, or the actions of the class of individuals of which Plaintiff is a
member, including intending to influence purchases of the old wine sold by Rodenstock.

43. Given the unique position of Rodenstock, Plaintiff reasonably and justifiably
relied on Rodenstock’s misrepresentations.

44. At the time Plaintiff acted, Plaintiff was unaware of the concealed or suppressed
facts and would have acted differently if Plaintiff had known the true facts.

45. Plaintiff has suffered damages as a result in an amount to be determined at trial.

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SECOND CAUSE OF ACTION

(DECLARATORY RELIEF)

46. Plaintiff incorporates by reference the allegations set forth in paragraphs 1
through 45 of this Complaint as though set forth in full herein.

47. Rodenstock has on numerous occasions affirmatively maintained, directly to
Plaintiff Koch and to others that the Thomas Jefferson wine bottles sold by Rodenstock are
authentic. Rodenstock continues to represent that the wine is authentic to this day.

48. Plaintiff has only recently discovered that this wine is a forgery and not authentic.

49. An actual case or controversy has arisen between Plaintiff and Rodenstock
regarding the authenticity of this wine. A judicial declaration is necessary and appropriate.

50. Plaintiff requests that the Court declare that the Rodenstock wine is not authentic
and that Rodenstock created the wine to make the bottles appear authentic in order to defraud
Plaintiff and others like him.

WHEREFORE, having set forth their claims, Plaintiff prays for judgment in his favor as

follows:
a. That all issues of fact be tried to a jury;
b. A declaration that the Rodenstock Thomas Jefferson wine is counterfeit;
c. Damages for all injuries suffered as a result of Rodenstock’s unlawful conduct;
d. An accounting and restitution in an amount to be determined at trial;
e. Exemplary damages in an amount to be determined at trial;
f. Pre-judgment interest in an amount to be determined at trial; and
g. Such other and further relief as may be just and proper.

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Dated: New York, New York
August 31, 2006

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© Shawn Patrick Regan (S B/-0925)

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Exhibit 1

 

 
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TO: Mr. Hardy Rodenstock Fax: 011-49-899305512
FROM: Bill Koch Fax: 212-754-2199
SUBJECT:  Th/J Wine DATE: January 3, 2006

 

Dear Mr. Rodenstock,

I believe I met you in the year 2000 at a Latour tasting Christy’s held in New
York.

I recently displayed some of my art, antique guns and wine at the Boston Museum
of Fine Arts. When I was preparing to display some of my prize bottles of wine, I
discovered I was very short on authentication. I had some research conducted and
determined that I purchased four bottles of wine all engraved with the initials Th J as
follows: Ch Branne Mouton 1784, Ch Lafite 1784, Ch Lafite 1787 and Ch Branne
Mouton 1787. These botties were purchased by me from Farr Vintners in London in
1988. .

[ contacted Farr Vintners and determined that they obtained the bottles from you
and they relied on research done by Michael Broadbent. However Mr. Broadbent could
not authenticate the actual origin of the bottles. Mr. Broadbent explained that these
bottles were located by you in a walled up cellar near Paris. You are the only person that
can authenticate these bottles of Jefferson wine.

Mr. Rodenstock could you please send me a brief letter and authenticate the fact
that the above bottles of wine, sold through Farr Vintners, with the engraved initials
Th J, were acquired by you or your agents from a walled up cellar near Paris and that you
have every reason to believe that the above bottles of wine once belonged to Thomas
Jefferson.

Thanks for your help.

Fyn

William I. Koch
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Exhibit 2

 

 
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" Hardy Radenstack
Fux number : ...49-XX-XXXXXXX

Junusry 10-2006

My.
William 1. Koch

lax number >001-212-7542199

Thank you vary much for your yesterday's fax.

U hays answered all the questions of Mr, Stanley C. Los from the SUMMIT
Research Group on that subject in detai) by fax dated September 5. T suppose that
Mx. Stanley has dolivored my fax and all the documents to you.

T would like to point out once again that for me the Jeffetson bottles are
absolutely genuine and — as you wrote righily — come from a walled up cellar in
Paris.

Michscl Broudbent has msde oxtensive investigations before he bad included a
bolle 1787 Lafitic in the CHRIRTIF’S auction in December 1985.

‘{homes Jefferson’s correspondence clcerly shows thal he bas ordered and also
drunk the wines.

It also clearly indicates that the wines he has ordered for him were to he marked
wilh “LinJ.7 aud those for George Wasbingian with “G.W,”. All that cun be road
in the book “Jefferson und Wine”.

Michael Broadbent has lisd the glass and the engraving examined by experts
from CHRISTIF’S and they have confirmed that the glass, the type and the
_ engraving cleasly comes from the period between 1780 and 1800.

Only after the expeits from CHRISTIF’S have established that the bottle was
absolutely gemuine, it has been included in the auction.

As you know, there were theri some doubts about the genuineness of the bottles. I
therefore have decided lo pul onc bolle ut the disposal for scientific purposes.

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“ 41/01 106 MI 14:62 FAX +49 89 9305512 ons

To prove that also the wine was genuine, T have asked CHRISTIF’S to find the
best experts in the world, and Michacl Broadbent bas given me the name of Prof.
Dr. Bonani in Zurich and Pr. Dr_ Hall in Oxford.

At the day of examination in the “Swiss Federal Institute of ‘Technology Zurich”
Prof.'Dr, Bonani, Michael Broadbent, a lawyer ond notary from Zurich and 1

wert proscnt.
Michael Broadbent has cut off the sealing, wax from the hottle, pulled out the
cork and poured some wine into a glass. We all have smelt and tasted the wine.

A small quantity of the wine and a piece of the cork have then been sent by Pr.
Dr. Bonani to his colleague Pr. Dr. Hall in Oxford.

Both have conducted their scientific examinations completely independent of
each other. You will find the resulls enclosed,

The result was definite. The wine was absolutely genuine and the examinations
have also shown that no younger wine hes beon added aller 1962. A vory
important. point was dlso thai the cérk bas been examined. ‘They have found out
that the wine corresponded with the cork and that it was the original cork that has
‘boon bathed by the wine during 200 years.
T have again put a hottle 1787 Ch. d’Yquem Th.J. at the disposal for scientific
oxaminutions in 1994 and also these cxuminations have proved that the wine was
absolutely genuine and that the cork has always been bathed by the wine.

You will surely undorstand that the discussions on tho genuinupess of the
Jefferson bottles were herewith closed for me.

As you wrole rightly, we have mel exch other al the fantastic Latour tasting in
New York.

L would be glad lo meet you again over a good glass of wine.
“On this, Lromsin with kind regerds

Wandin | ColbeattsGr

~ be Rodefistock -

PS : T have heard that you have bought many fantastic wines at the spectacular
ZACLLY’S auction. Congratulations !
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ETH ===

institut fir Mittelenergiephysik

Or. G. Bonanit -

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Zentrale; O1/377 4414 FAX: 01/371 2665

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CH-8003 Zurich

Sehr geebrter Herr Rodenstock,

‘Bode polytechnique fédéral de Zurich
Palttecnioo fecierale di Zurkgo
Swiss Federal Institute of Technology Zurich

2508

Herrn —
Hardy RODENSTOCK

Zurich, den 7. Dezember 1992

Hermit erhalten Sie die Resultate der Proben, die am 27,8.1992 zur “C-AMS Datierung

itberbracht wurden:

AMS-“C

Labor Nr. Proben Nr. _ Alter [% MOD}

ETH-9529 1962 WINE 139.2 +

0.5
ETH-9530 1955 WINE 102.4 + 0.3
0.5

ETH-9531-2 1787 SED. 100.3 +

AMS-*G
Labor Nr. Proben Nr. Alter [y BP}

ETH-9531-1 1787 WINE 120+ 35

ETH-9534 1787 CORK 90+ 35

§ 9C [o/oo] kelib. Alter [BC-AD]

-22.0+ 1.6 AD 1962
-27.0 + 0.9 AD 1955
-23.6 & 0.9 AD 1950

§ 8C [o/oo] kalib. Alter (BC-AD}

19.94 0.9 AD 1673-1756 (33.7 %)
AD 1796 -1945 (66.0 %)
“AD 1053-1954 ( 0.3 %)
249+ 0.7 AD 1684-1739 (27.3 %)
AD 1806 -1932 (72.7 %)

Die oben angegebenen Alter sind fir die natiirliche Isotopenfraktionierung korrigiert
und sind entweder in % Modern (obere Tabele) odex in y BP (Jahre before present),

wobej das Bezugsjabr das Jahr 1950 ist.
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Die kalibrierten (dendrokorrigierten) Alter sind 20-Bereiche (95 % confidence limit) und
wurden mit dem Programm CalibETH von Th.R. Nikleus, G. Bonani, M. Simonius, M.
Suter und W. Wolfli berechnet (Radiocarbon, Vo. 34, No. 3, 1992, p.-). Die Kali-
brierkurve der Jetzten 300 Jahre hat einen sehr wiruhigen Verlauf, 90 dass fix diese
- Zeitperiode keine genauen Alter ermittelt werden konnen.

Die durchgefihrten Radiokarbon-Un-ersuchungen an dem 1787er Lafitte zeigen keime
Beimischung von jiingerem Wein nech 1962. Die ermittelten Alter des Weines und des
dazugehirenden Korken stimmen innerhalb der Messfehler tiberein.

Mit freundlichen Gritgsen
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Dr. Georges Bonant
 

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Exhibit 3

 

 
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PERSONAL FAX FROM THE DESK OF WILLIAM. KOCH

TO: Hardy Rodenstock FAX: 011-49-899308512
FROM: William L Koch BAX: 561-640-8740
DATE: April 10, 2006

 

Dear Mr. Rodenstock,

You have always responded to inquiries from me and researchers
working on my behalf, a fact | appreciate. As you know, we have
done a great deal of research with an eye to authenticating my
Thomas Jefferson wines. The information that you only possess, as
the person who discovered these wines, is critical to this research.

| would appreciate a favor. | would like to personally meet with you,
over a good glass of wine, at a place of your choosing to discuss our
research into the authentication of the wines, and some of the
concems that have arisen.

If you would kindly agree to this meeting, | would set aside time from
my schedule to make it happen under circumstances convenient to
you. A short exchange of information face-to-face will accomplish
more than a number of faxes and telephone calls. | hope you will
agree to accommodate me.

Very truly yours,
Sal by _

Bill Koch
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Exhibit 4

 

 
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Hardy Rodenstock
Fax : ..,49-XX-XXXXXXX

May 11 2006

‘Thank you for your fax.

Ihave already answered you all the questions you have asked me conceming the
Jefferson battles in detail.

I have bought these battles 21 years ago in Paris from peaple who had. offercd
them to me. For me the matter is settled. From a legal point of view the purchase
and the sale are barred by the statute of limitation.

The person from whom I have bought the bottles at the time was about 65 years _
old. 1 don’t cven know if the soller of the bottles is still alive today.

Christie’s absolutely wanted one of these bottles for an auction and 1 had given
Michel Broadbent one bottle for that auction (1787 Lafitie ‘Th.J.). Afler having
established the genuineness of the bottle in a thorough-going examination,
Christie’s has then sold it at auction on December 5 1985.

Christic’s has had the engraving, the glass and se on closely examined. So
why should T doubt about the genuineness ?

When it came out that someone hay fiddled about with the wine of onc boitle
after it had left my cellar, that was of course grist for the mill of the yellow press
which covered the subject in a very primitive way.

J of course couldn’t put up with that farce and therefore have decided to have

one hottle Lafitte examined by a setious and worldwide renowned scientific
institute in the presence of Michel Broadbent and a lawyer from Zurich.

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The extensive studies have proved that the wine was absolutely genuine.
Prof Dr. Bonani had sent a part of the wine to his worldwide recognized fellow
professor Dr. Lal! in Oxford who has come to the same result.

The cork has also been examined and it was proved that il had always been
bathed by the wine and belonged to the bottle.

I later have had another bottle “Yquem Th.” examined as well as its cork and
this winc too as well as its cork were genuine.

_ The examination findings of the wine that had been tampered with after } had
sold the bottle were insufficient and also had no real conclusiveness as the’cork
hasn’t even been examined. One simply wanted to harm me. There was jealousy -
at work !

Please, understand me when I say that for me the subject “Jeffersan wines —
genuine or not ?” is definitely closed. Its really too laborious for nc ttudiizcuss -
again about the genuineness of these wines after 21 years.

From a Icgal point of view, I am — as you know - not your interlocutor. FARR
Vininer from {.ondon have asked te several times to sell them some Jefferson
bottles, which T have finally donc. However, the price was far under the sum the
battle had fetched at the CHRISTIE'S suction in London.

Your actual interlocutor are the sits from FARR Vintners. Rut [ have gladly
answered all your questions.

| have bccn told that you have inquired thoroughly about the Yquem-JefTcrson
bottles we had opened at the great Yquem tasting in Munich at a dinner in
London in autumn last year. You can read in Michel Broadbent’s book how the
wine was.

L really can’t tell you more in a personal conversation than what 1 have alrcady
told you in detail in writing .

Thope that you will understand thai « mecting would therefore bring you no new
knowledge. Moreover, my English is unfortunatcly also nol so good to speak
with you about all the things I have already told you in writing.

I have had all the faxes ! have sent you translated from German into English.
Tlowever, if you should once come to Rurope and if you would like to drink

some great wines with me and some other wine friends, [ would gladly welcome
you.

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You know that I always like to drink the wines [ buy from wine merchants or at
auctions with pleasant wine friends.

A wine cellar should be no strong room, and the wines should be no speculation
objects. The cellar masters have produced the wines to be drunk onc day.

Lam always sad when I sce all those fantastic wines in the auction catalogues of
the different auction houses which have once be bought by thc persons whe
unfortunately sell thom at auctions with the intention to drink them one day.

Or, which is even moro sad, they have bought the wines only as a pure
speculation object, not for the wine drinking pleasure but only (o scil theni one
day with a large profit.

Ilave you already opened some magnums from the many great wincs you have
bought at the ZACH YS auction in New York ?

As said, if you would like to drink some fimtastic wines with me in a nice circle

of wine friends at a trip to Europe, I will gladly organize a wine tasting in your

Is there a wine you always wanted to drink but you don’t have in your winc

- cellar ?

I would be glad to fulfil you that wish if 1 should have this winc in my cellar.
On this, | remain with kind regards from the sunny Kitzbithel

Your

Wor, Qala

- Lardy Rodenstock -

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